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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10
11 UNITED STATES OF AMERICA,                             CASE NO. 2:15-CR-058 MCE

12                                Plaintiff,             ORDER SEALING DOCUMENTS AS SET FORTH
                                                         IN GOVERNMENT’S NOTICE
13                          v.

14 DAVID VALDEZ,
15                                Defendant.

16
17          Pursuant to Local Rule 141(b) and based upon the representation in the Government’s Request to

18 Seal, IT IS HEREBY ORDERED that the memorandum pertaining to Defendant and Request to Seal
19 shall be SEALED until further order of this Court. Access to the sealed documents shall be limited to
20 the Government and Defendant’s counsel. The Court has considered the factors set forth in Oregonian
21 Publishing Co. v. U.S. District Court for the District of Oregon, 920 F.2d 1462 (9th Cir. 1990). The
22 Court finds that for the reasons stated in the request, sealing the motion serves a compelling interest and
23 that in the absence of closure, the compelling interests identified by the Government would be harmed.
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      ORDER SEALING DOCUMENTS AS SET FORTH IN            1
30    GOVERNMENT’S NOTICE
              Case 2:15-cr-00058-DAD Document 108 Filed 04/10/18 Page 2 of 2


 1 In light of the public filing of the request to seal, the Court further finds that no additional alternatives to
 2 sealing the motion would adequately protect the compelling interests identified by the Government.

 3          IT IS SO ORDERED.

 4 Dated: April 9, 2018

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      ORDER SEALING DOCUMENTS AS SET FORTH IN              2
30    GOVERNMENT’S NOTICE
